Case 22-10397-amc         Doc 68     Filed 10/13/22 Entered 10/14/22 09:29:49       Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                       :
                                             :       CHAPTER 7
SAMUEL H. STEINER                            :
                                             :       BANKR. NO.: 22-10397 (AMC)
                                             :
                                Debtor       :
                                             :

                                   ORDER DISMISSING CASE

                AND NOW, this ____ day of October, 2022, upon consideration of the United

States Trustee’s Motion to Dismiss Case Pursuant to 11 U.S.C.§707(b)(3), and the response of

the debtor, if any, it is now, therefore,

                ORDERED, that the United States Trustee’s Motion is GRANTED and this case

is hereby DISMISSED.




                                             _____________________________________
 Date: October 13, 2022                      HONORABLE ASHELY M. CHAN
                                             United States Bankruptcy Judge




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